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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                         SEATTLE
     ROBERTO RIZZO,
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11          Plaintiff,
                                                           Case No.: 2:21-cv-00082
12   v.
                                                           COMPLAINT
13
     ALASKA BOAT COMPANY, LLC,
14
           Defendant.
15   _____________________________________/
16
            NOW COMES Plaintiff, by and through his undersigned counsel, O'BRYAN BAUN
17
     KARAMANIAN, complaining against Defendant as follows:
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            1.      Jurisdiction and venue lie in this action, Defendant conducting business within this
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20   forum's boundaries.

21          2.      Jurisdiction is founded under the Jones Act (46 USCA 30104) for negligence, and
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     under the General Maritime Law for unseaworthiness, maintenance, and cure.
23
            3.      At all times material to issues herein Plaintiff served as an employee of Defendant
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     serving as a crewmember aboard its vessels, with all acts and/or omissions giving rise to this action
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26   occurring in the course of Plaintiff's employment in the service of his ship.

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 2           4.      On or about September 20, 2020, Plaintiff, without adequate equipment and/or
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     assistance, was required to handle a certain, too weighty spool of nylon line, when in the process
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     thereof, he was injured by said unseaworthy conditions/failure to provide a safe place to work.
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             5.      Defendant’s tortious acts aforesaid caused or contributed to Plaintiff's damages,
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 7   inter alia, as follows:

 8                   a. Pain and suffering, past future;
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                     b. Mortification, humiliation, fright, shock and embarrassment;
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                     c. Loss of earnings and earning capacity;
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                     d. Hospital, pharmaceutical and other cure expenses;
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13                   e. Aggravation of prior condition, if any there be;

14                   f. Inability to engage in social, recreational, and other pursuits previously
                        enjoyed;
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16                   g. Mental anguish;

17                   h. Found;
18
                     i. Maintenance, cure, wages and/or attorney fees.
19
             WHEREFORE, Plaintiff demands trial by jury and judgment against Defendant, together
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     with interest, costs, attorney fees and expenses, all to be methodically adjusted upwards during the
21

22   pendency of this cause.

23                                                 O'BRYAN BAUN KARAMANIAN
24
                                                   /s/ Dennis M. O’Bryan       _____
25                                                 DENNIS M. O'BRYAN (P30545)
                                                   Attorneys for Plaintiff
26                                                 40l S. Old Woodward, Suite 463
                                                   Birmingham, MI 48009
27
                                                   248.258.6262, 248.258.6047 –fax
28                                                 dob@obryanlaw.net
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 2                                       -and-
 3
                                         DAVIS LAW GROUP, P.S.
 4
                                         /s/ Christopher M. Davis
 5                                       CHRISTOPHER M. DAVIS (WSBA23234)
                                         Local counsel
 6
                                         2101 Fourth Ave, Ste. 1030
 7                                       Seattle, WA 98121
                                         206.727.4000, 206.727.4001 - fax
 8                                       chris@davislawgroupseattle.com
 9
     Dated: January 22, 2021
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